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Thomas J. Hannon, and Board of Commissioners, Mauro Sandoval, Jesse O. Kurtz,
Patricia Tweedle, Nichole Gupton, Dr. La’Quetta Small, Stephanie Stewart and
Eli Gbayee

                  UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW JERSEY

                                          :
LASH BRUMFIELD, MARITZA                   :
BRUMFIELD, individuals and on behalf of   :
TRIPLE D. CLEANING SERVICES, JBI          :
MANAGEMENT,                               :
                                          :
                 Plaintiffs,              :
                                          :
           v.                             :
                                          :
ATLANTIC CITY HOUSING                     :           Civil Action No.
AUTHORITY, EXECUTIVE DIRECTOR,            :             __________
THOMAS J. HANNON, BOARD OF                :
DIRECTORS, BOARD COMMISSIONER             :
JESSE O. KURTZ, and MAURO                 :     NOTICE OF REMOVAL
SANDOVAL, and PATRICIA TWEEDLE,           :
TREASURER STEPHANIE STEWART,              :
ASSISTANT TREASURER ELI GBAYEE,           :
BOARD CHAIRPERSON NICHOLE                 :
GUPTON, VICE CHAIRPERSON DR.              :
LA’QUETTA SMALL, HEAD DOE, JOHN           :
DOE, ANN DOE (identities unknown),        :
                                          :
                 Defendants.              :
                                          :
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      Defendants, Atlantic City Housing Authority (“ACHA”), Executive Director

Thomas J. Hannon, and Board of Commissioners, Mauro Sandoval, Jesse O. Kurtz,

Patricia Tweedle, Nichole Gupton, Dr. La’Quetta Small, Stephanie Stewart and Eli

Gbayee (collectively, the “ACHA Defendants”), by their attorneys, Cooper

Levenson, P.A., hereby remove the above-captioned matter from the Superior

Court of New Jersey, Atlantic County, Law Division, to the United States District

Court for the District of New Jersey, pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §

1441, et seq. In connection therewith, the ACHA Defendants state as follows:

                       THE STATE COURT LITIGATION

      1.    On or about July 27, 2021, Plaintiffs Lash Brumfield, Maritza

Brumfield and on behalf of Triple D. Cleaning Services, JBI Management

(collectively, “Plaintiffs”), filed an action in the Superior Court of New Jersey,

Law Division, Atlantic County, which is docketed as ATL-L-0404-21. A true and

correct copy of the Complaint is attached hereto as Exhibit A.

      2.    On or about July 27, 2021, counsel for Plaintiffs, Eldridge Hawkins,

Esquire, served the Complaint and Summons upon the ACHA Defendants. A true

and correct copy of the Summons is attached hereto as Exhibit B.

      3.    A true and correct copy of the Track Assignment Notice is attached

hereto as Exhibit C.

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        4.    The ACHA Defendants have not yet filed an Answer to Plaintiffs’

Complaint.

        5.    Plaintiffs’ Complaint contains claims against the ACHA Defendants

alleging violations of the United States Constitution and the laws of the United

States , which necessitate removal to the District Court. See Ex. A, p. 13, Count

Six.

        6.    Specifically, Plaintiffs alleges that the ACHA Defendants[’] “actions

under color of State Law also violated Plaintiffs[’] right under the US Constitution,

Amendment I, IV, V, XIV, and 42 USCA 1981, 1982, 1983, 1986, 1986, 1988[.]”

See Ex. A, p. 13, Count Six, ¶2.

                                   THE PARTIES

        7.    According to Plaintiffs’ Complaint, Plaintiffs Lash Brumfield and

Maritza Brumfield are the principals of Plaintiff Triple D. Cleaning Services and

Plaintiff JBI Management. See id, p. 2, ¶1.

        8.    Defendant ACHA is an instrumentality of the State of New Jersey

located in Atlantic City, New Jersey, which is regulated by State and Federal

regulations. See id., p. 2, ¶2.

        9.    Defendant John Thomas Hannon is the ACHA Executive Director.

See id., p. 2, ¶3.




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      10.     Defendants Mauro Sandoval, Jesse O. Kurtz, Patricia Tweedle,

Nichole Gupton, Dr. La’Quetta Small, Stephanie Marshall (formerly Stewart) and

Eli Gbayee serve as members of the ACHA Board of Commissioners. See

generally, id.

                                    REMOVAL

      11.     Pursuant to 28 U.S.C. § 1331, the District Court has original

jurisdiction over the claims arising under the Constitution and the laws of the

United States, and this action is one that may be removed to the District Court by

the ACHA Defendants pursuant to 28 U.S.C. § 1441(c).

      12.     This Notice of Removal is timely in accordance with the requirements

of 28 U.S.C. § 1446(b) as it has been filed within thirty (30) days after service of

Plaintiffs’ Complaint, which contains the Federal claims over the District Court

has original jurisdiction.

      13.     In accordance with 28 U.S.C. § 1446(a), this Notice contains copies of

all orders, summonses and pleadings that have been served upon the ACHA

Defendants.

      14.     The ACHA Defendants will provide immediate notice of the filing of

this Notice of Removal to all parties and the Clerk of the State Court as required by

28 U.S.C. § 1466(d).




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        15.      By removing this action, the ACHA Defendants do not waive any

defenses that may be available and do not concede that the allegations in the

Complaint state a valid claim under any applicable law. The ACHA Defendants

also reserve the right to supplement this Notice in the event that this removal is

challenged.

        WHEREFORE, the ACHA Defendants respectfully request that the matter

presently pending in the Superior Court of New Jersey, Law Division, Atlantic

County, Docket No. ATL-L-0404-21, be removed to the United States District

Court for the District of New Jersey.

        I certify that the foregoing statements made by me are true. I am aware that

if any of the foregoing statements made by me are willfully false, I am subject to

punishment.

                                     COOPER LEVENSON, P.A.

                                     By:
Dated: August 25, 2021                     YOLANDA N. MELVILLE, ESQUIRE
                                           Attorneys for Defendants, Atlantic City
                                           Housing Authority, Executive Director
                                           Thomas J. Hannon, and Board of
                                           Commissioners, Mauro Sandoval, Jesse
                                           O. Kurtz, Patricia Tweedle, Nichole
                                           Gupton, Dr. La’Quetta Small, Stephanie
                                           Stewart and Eli Gbayee
CLAC 6501974.1




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                EXHIBIT A
 ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 1 of 14 Trans ID: LCV2021283266
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 ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 2 of 14 Trans ID: LCV2021283266
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 ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 3 of 14 Trans ID: LCV2021283266
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  ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 4 of 14 Trans ID: LCV2021283266
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  ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 5 of 14 Trans ID: LCV2021283266
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  ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 6 of 14 Trans ID: LCV2021283266
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  ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 7 of 14 Trans ID: LCV2021283266
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  ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 8 of 14 Trans ID: LCV2021283266
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  ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 9 of 14 Trans ID: LCV2021283266
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 ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 10 of 14 Trans ID: LCV2021283266
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 ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 11 of 14 Trans ID: LCV2021283266
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 ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 12 of 14 Trans ID: LCV2021283266
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 ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 13 of 14 Trans ID: LCV2021283266
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 ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 14 of 14 Trans ID: LCV2021283266
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          ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 1 of 2 Trans ID: LCV2021283266
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                        Civil Case Information Statement
Case Details: ATLANTIC | Civil Part Docket# L-000404-21

Case Caption: BRUMFIELD LASH VS ATLANTIC CITY                    Case Type: CIVIL RIGHTS
HOUSIN G AUTHORI                                                 Document Type: Complaint with Jury Demand
Case Initiation Date: 02/05/2021                                 Jury Demand: YES - 6 JURORS
Attorney Name: ELDRIDGE T HAWKINS                                Is this a professional malpractice case? NO
Firm Name: ELDRIDGE HAWKINS                                      Related cases pending: NO
Address: 60 EVERGREEN PLACE STE 510                              If yes, list docket numbers:
EAST ORANGE NJ 07018                                             Do you anticipate adding any parties (arising out of same
Phone: 9736765070                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : BRUMFIELD, LASH
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: LASH BRUMFIELD? NO

(if known): None
                                                                 Are sexual abuse claims alleged by: MARITZA BRUMFIELD? NO


                                                                 Are sexual abuse claims alleged by: TRIPLE D CLEANING
                                                                 SERVICES? NO


                                                                 Are sexual abuse claims alleged by: RASHAUN BRUMFIELD? NO


                                                                 Are sexual abuse claims alleged by: HARITA NELLOM? NO



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




Do parties have a current, past, or recurrent relationship? NO
If yes, is that relationship:
Does the statute governing this case provide for payment of fees by the losing party? YES
Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:


Do you or your client need any disability accommodations? NO
       If yes, please identify the requested accommodation:


Will an interpreter be needed? NO
         If yes, for what language:


Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO
        ATL-L-000404-21 02/05/2021 5:18:15 PM Pg 2 of 2 Trans ID: LCV2021283266
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I certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

02/05/2021                                                                    /s/ ELDRIDGE T HAWKINS
Dated                                                                                          Signed
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                  EXHIBIT B
  ATL-L-000404-21 08/13/2021 3:22:03 PM Pg 1 of 9 Trans ID: LCV20211887558
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  ATL-L-000404-21 08/13/2021 3:22:03 PM Pg 2 of 9 Trans ID: LCV20211887558
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  ATL-L-000404-21 08/13/2021 3:22:03 PM Pg 3 of 9 Trans ID: LCV20211887558
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  ATL-L-000404-21 08/13/2021 3:22:03 PM Pg 4 of 9 Trans ID: LCV20211887558
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  ATL-L-000404-21 08/13/2021 3:22:03 PM Pg 5 of 9 Trans ID: LCV20211887558
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  ATL-L-000404-21 08/13/2021 3:22:03 PM Pg 6 of 9 Trans ID: LCV20211887558
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  ATL-L-000404-21 08/13/2021 3:22:03 PM Pg 7 of 9 Trans ID: LCV20211887558
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  ATL-L-000404-21 08/13/2021 3:22:03 PM Pg 8 of 9 Trans ID: LCV20211887558
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  ATL-L-000404-21 08/13/2021 3:22:03 PM Pg 9 of 9 Trans ID: LCV20211887558
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Case 1:21-cv-16061 Document 1-2 Filed 08/25/21 Page 33 of 34 PageID: 36




                  EXHIBIT C
            ATL L 000404-21 02/06/2021 4:43:31 AM Pg 1 of 1 Trans ID: LCV2021285819
          Case 1:21-cv-16061 Document 1-2 Filed 08/25/21 Page 34 of 34 PageID: 37
ATLANTIC COUNTY LAW DIVISION
SUPERIOR COURT OF NEW JERSEY
1201 BACHARACH BLVD
ATLANTIC CITY    NJ 08401
                                             TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (609) 402-0100
COURT HOURS 8:30 AM - 4:30 PM

                             DATE:   FEBRUARY 05, 2021
                             RE:     BRUMFIELD LASH VS ATLANTIC CITY HOUSIN G AUTHORI
                             DOCKET: ATL L -000404 21

      THE ABOVE CASE HAS BEEN ASSIGNED TO:   TRACK 3.

     DISCOVERY IS   450 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:   HON JAMES P. SAVIO

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM       002
AT:   (609) 402-0100 EXT 47790.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: ELDRIDGE T. HAWKINS
                                             ELDRIDGE HAWKINS
                                             60 EVERGREEN PLACE
                                             STE 510
                                             EAST ORANGE      NJ 07018

ECOURTS
